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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




BODE & GRENIER, LLP,

     Plaintiff,

                                            Civil Action No. 08-1323
     v.                                            DAR


CARROLL L. KNIGHT, et al.,

     Defendants.




      Appearances:       Randell C. Ogg, Esquire
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                         Counsel for Defendants
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                                        FINAL PRETRIAL ORDER


        Counsel for the parties appeared before the undersigned United States Magistrate
Judge on October 9, 2012 for a final pretrial conference. Discovery has been completed, and trial
is scheduled to commence on November 13, 2012.
        This order is entered pursuant to Rule 16(e) of the Federal Rules of Civil Procedure and
Local Civil Rule 16.5(a)(3), and shall control the subsequent course of this action unless
modified, in accordance with those rules, by further order.


Nature of the Cause of Action; the Parties’ Contentions
        This is an action to recover unpaid fees for legal services performed by Plaintiff.
Plaintiff’s unopposed motion to dismiss Count III and Count IV of its Amended Complaint, see
Plaintiff’s Pretrial Statement at 2 n.1, is GRANTED. Defendants accept Plaintiff’s Proposed
Stipulations of Fact 6, 7 and 8, see Plaintiff’s Pretrial Statement at 9-10.
        Defendants deny their obligation to pay said fees. On the record during the course of the
final pretrial conference, the court granted Plaintiff’s motion to strike the defenses of (1) duress
and (2) failure to comply with conditions precedent and failure of consideration, see 10/09/2012
Minute Entry, and ordered that Defendants file any motion for leave to amend their answer to
include such defenses by no later than October 11, 2012.


Witnesses
        Without objection, the schedule of witnesses included in Plaintiff’s Pretrial Statement is
incorporated herein.
        By no later than October 11, 2012, Defendants shall supplement their schedule of
witnesses to identify by name the “[o]ther attorneys and/or assistants or paralegals currently or
formerly employed by Bode and Grenier, LLP” whom Defendant’s intend to call, see Defendants’
Pretrial Statement at 4, Defendants intend to call, and otherwise to comply with LcvR 16.5(b)(5).
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Exhibits
        Without objection, the witness list included in Plaintiff’s Pretrial Statement is
incorporated herein. No later than October 11, 2012, Plaintiff, in accordance with its offer to do
so, shall provide an additional copy of Plaintiff’s exhibits 15-47 to counsel for Defendants.
        By no later than October 11, 2012, Defendants shall supplement their exhibit list, see
Defendants’ Pretrial Statement at 5, to fully comply with the requirements of LCvR 16(b)(6).
Defendants may offer the transcript of the deposition of William H. Bode, see Defendants’
Pretrial Statement at 4, soley for the purpose of impeachment. In all other respects, the exhibit
list included in Defendants’ Pretrial Statement is incorporated herein.


Other Pretrial Matters
        Counsel shall continue to meet and confer regarding the viability of Defendants’ jury
demand after the dismissal, on the unopposed motion of Plaintiff, of Count III and Count IV of
Plaintiff’s amended complaint. By no later than October 26, 2012, the parties shall jointly file a
status report in which they indicate whether an agreement has been reached; if the parties have
not reached an agreement, then, in addition, each side shall state its contention, accompanied by
citations to applicable authorities, regarding the continued viability of Defendants’ jury demand.


It is SO ORDERED.




October 15, 2012                                                 /s/
DATE                                                   DEBORAH A. ROBINSON
                                                       United States Magistrate Judge



October 9, 2012
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